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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                Case No. 23-22893-CIV-CANNON

   THOMAS T. MCCLENDON, as Liquidating
   Trustee of the Galardi Creditor Trust,

          Plaintiff,
   v.

   RASHEEDAH     MAYS;    TIFFANY
   THOMPSON; ASTRID GABBE; LAW
   OFFICE OF ASTRID E. GABBE, P.A.;
   AINSWORTH DUDLEY; DUDLEY LAW,
   LLC

          Defendants
                                              /

        NOTICE OF STRIKING NOTICE OF FILING OF ASSIGNMENT [ECF NO. 109]

          Defendants/Counter Claimants and Respondents, Astrid Gabbe and the Law Office of

   Astrid E. Gabbe P.A., files this Notice of Striking OF Notice of Filing of Assignment [ECF No.

   109.

   Dated: February 9 2024


                                                          Respectfully submitted,
                                                          /S/ Astrid E. Gabbe
                                                          Astrid E. Gabbe, Esq.
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 9th day of February 2024 a true and correct copy of
   foregoing was electronically filed with the Court’s CM/ECF system, which will electronically
   serve a copy of the foregoing document on all counsel of record and served on non-record parties
   via email and/or regular mail by the undersigned.
                                               Respectfully submitted,
                                               /s/ Astrid E. Gabbe, Esq.
                                               Astrid E. Gabbe, Esq.
                                               The Law Office of Astrid E. Gabbe, PA.
                                               Pro Se Defendant
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                                          SERVICE LIST

   Via CM/ECF/EMAIL

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